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   1   Jacob A. Walker (CA Bar # 271217)
   2
       Jeffrey C. Block (admitted pro hac vice)
       Stephen J. Teti (admitted pro hac vice)
   3   BLOCK & LEVITON LLP
   4   260 Franklin St., Suite 1860
       Boston, MA 02110
   5   Tel.: (617) 398-5600
   6   Fax: (617) 507-6020

   7   Whitney E. Street (CA Bar # 223870)
   8   BLOCK & LEVITON LLP
       100 Pine Street, Suite 1250
   9   San Francisco, CA 94111
  10   Tel.: (415) 968-1852
       Fax: (617) 507-6020
  11

  12
       Attorneys for Lead Plaintiff and the Proposed Class
  13

  14

  15                         UNITED STATES DISTRICT COURT
  16                       SOUTHERN DISTRICT OF CALIFORNIA

  17

  18   SCOTT KUHNE, individually and on
       behalf of all others similarly situated,
  19

  20          Plaintiff,                          Case No. 3:20-cv-00649-DMS-DEB
  21   v.
  22                                              AMENDED CLASS ACTION
       GOSSAMER BIO, INC., SHEILA                 COMPLAINT FOR VIOLATIONS
  23   GUJRATHI, M.D., BRYAN                      OF THE FEDERAL SECURITIES
  24   GIRAUDO, FAHEEM HASNAIN,                   LAWS
       JOSHUA H. BILENKER, M.D.,
  25
       KRISTINA BUROW, RUSSELL                    JURY TRIAL DEMANDED
  26   COX, THOMAS DANIEL, M.D.,
       RENEE GALA, OTELLO
  27
       STAMPACCHIA, Ph.D., MERRILL
  28   LYNCH, PIERCE, FENNER &
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   1   SMITH INCORPORATED, SVB
   2   LEERINK LLC, BARCLAYS
       CAPITAL INC., and EVERCORE
   3   GROUP L.L.C.,
   4
              Defendants.
   5

   6

   7         Lead Plaintiff, Scott Kuhne, (“Lead Plaintiff”), individually and on behalf of

   8   all others similarly situated, by and through his attorneys, alleges the following
   9
       upon personal knowledge as to his own acts, and upon information and belief as to
  10

  11   all other matters, based upon the investigation conducted by and through his
  12   attorneys, which included, among other things, a review of documents filed by
  13
       Defendants (as defined below) with the United States Securities and Exchange
  14

  15   Commission (the “SEC”), news reports, press releases issued by Defendants, and
  16   other publicly available documents. Lead Plaintiff believes that substantial
  17
       additional evidentiary support will exist for the allegations set forth herein after a
  18

  19   reasonable opportunity for discovery.
  20                   NATURE AND SUMMARY OF THE ACTION
  21
             1.     This is a federal securities class action on behalf of all investors who
  22

  23   purchased or otherwise acquired Gossamer Bio, Inc. (“Gossamer” or the
  24
       “Company”) common stock between February 8, 2019 and December 13, 2019,
  25
       inclusive (the “Class Period”), and/or who acquired Gossamer shares pursuant or
  26

  27   traceable to Gossamer’s Registration Statement and Prospectus in connection with
  28
       its February 8, 2019 Initial Public Offering
                                            2       (the “IPO”), seeking to recover
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   1   damages caused by Defendants’ violations of the federal securities laws and to
   2
       pursue remedies under §§ 11 and 15 of the Securities Act of 1933 (the “Securities
   3

   4   Act”) and under §§ 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

   5   “Exchange Act”) and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. §
   6
       240.10b-5.
   7

   8         2.      The issuance of Gossamer common stock in connection with the IPO

   9   was registered under the Securities Act, as amended, pursuant to Gossamer’s
  10
       Registration Statement on Form S-1 (File No. 333-228984) declared effective on
  11

  12   February 7, 2019. This case arises from untrue statements and omissions of

  13   material fact made in these IPO materials, and in subsequent public statements by
  14
       Defendants.
  15

  16         3.      Gossamer is a clinical-stage biopharmaceutical company focused on
  17   discovering, acquiring, developing, and commercializing therapeutics in the
  18
       disease areas of immunology, inflammation, and oncology. The Company’s lead
  19

  20   and most advanced drug candidate, GB001, is an oral antagonist of prostaglandin
  21   D2 receptor 2, or DP2, in development for the treatment of moderate-to-severe
  22
       eosinophilic asthma and other allergic conditions. Gossamer’s GB001 product is in
  23

  24   Phase 2 development for asthma and rhinosinusitis.
  25         4.      In its IPO, Gossamer and the Underwriter Defendants sold 19,837,500
  26
       shares of common stock at an initial public offering price of $16.00 per share, for a
  27

  28
                                                 3
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   1   total offering price of $317.4 million. Proceeds to the Company, net of
   2
       underwriting discounts and commissions, were $256.68 million.
   3

   4         5.    Defendants in this action consist of Gossamer, the Gossamer

   5   executives and directors who signed the Registration Statement, and the
   6
       underwriters to the IPO (collectively, “Defendants”).
   7

   8         6.    In violation of the Securities Act, Defendants issued untrue statements

   9   of material facts and omitted to state material facts required to be stated from the
  10
       Registration Statement and accompanying and incorporated offering materials that
  11

  12   Gossamer filed with the SEC in support of the IPO. Specifically, Defendants

  13   misrepresented and/or misled investors, among other things, that: (1) Novartis,
  14
       who had a product that would compete against GB001 in the works, had a
  15

  16   successful Phase 2 trial that had clinically validated DP2 antagonism; and (2) upon
  17   the release of the results of a successful interim analysis of the Phase 2b LEDA
  18
       study for GB001 in the first half of 2020, Gossamer would launch the first of two
  19

  20   planned Phase 3 studies for GB001.
  21         7.    Defendants are strictly liable for any material untrue statements or
  22
       omissions in the IPO materials. Furthermore, because this case involves a
  23

  24   Registration Statement, Defendants also had an independent, affirmative duty to
  25   provide adequate disclosures about adverse conditions, risks, and uncertainties. See
  26
       Item 303 of SEC Reg. S-K, 17 C.F.R. § 229.303(a)(3)(ii) (requiring that the
  27

  28   materials incorporated in a Registration Statement disclose all “known trends or
                                                4
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   1   uncertainties” reasonably expected to have a material unfavorable impact on the
   2
       Company’s operations); and Item 105 of SEC Reg. S-K, 17 C.F.R. § 229.105
   3

   4   (requiring the materials in a Registration Statement to disclose a “discussion of the

   5   most significant factors that make the offering speculative or risky”).
   6
                8.    Thus, Defendants had an affirmative duty to ensure that the
   7

   8   Registration Statement and the materials incorporated therein disclosed material

   9   trends and uncertainties that they knew or should have reasonably expected would
  10
       have a materially adverse impact on Gossamer’s business. Defendants failed to
  11

  12   fulfill this obligation. Unfortunately for investors who purchased Gossamer’s

  13   shares pursuant and/or traceable to the IPO, however, the truth did not begin to
  14
       emerge until after the IPO was complete.
  15

  16            9.    Over the next several months, and in violation of the Exchange Act,
  17   Gossamer continued to publicly state that “DP2 antagonism has been clinically
  18
       validated by Novartis’ oral DP2 antagonist, fevipiprant.” Moreover, Gossamer
  19

  20   continued to assure investors that upon the release of the results of a successful
  21   interim analysis of the Phase 2b LEDA study for GB001 in the first half of 2020,
  22
       Gossamer would launch the first of two planned Phase 3 studies for GB001. Based
  23

  24   on these representations, Gossamer’s stock price soared to a high of $27.15 per
  25   share.
  26
                10.   In the materials accompanying the IPO and throughout the Class
  27

  28   Period, Defendants made materially false and/or misleading statements, as well as
                                                  5
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   1   failed to disclose material adverse facts about the Company’s business, operations,
   2
       and compliance policies. Specifically, Defendants misrepresented and/or failed to
   3

   4   disclose to investors: (1) the purported clinical validation of Novartis’ oral DP2

   5   antagonist; (2) that Gossamer did not plan to release the details of its interim
   6
       analysis of the Phase 2b LEDA study and did not plan to launch a Phase 3 trial for
   7

   8   GB001 upon such analysis; and (3) as a result of the foregoing, Defendants’ public

   9   statements were materially false and misleading at all relevant times.
  10
              11.    In October 2019, Novartis announced that its fevipiprant product had
  11

  12   failed to improve long function in two Phase 3 trials, as measured by FEV1, over

  13   placebo.
  14
              12.    Then on November 12, 2019, Gossamer stated that it would not be
  15

  16   releasing any of the data associated with its purported interim analysis of the Phase
  17   2b LEDA study in the first half of 2020, but would only “be indicating whether we
  18
       think the data’s in support of moving forward into Phase III, planning and
  19

  20   initiation purposes,” and would not even disclose the Company’s decision on
  21   whether to commence a Phase III trial.
  22
              13.    On December 16, 2019, Novartis announced that it was terminating
  23

  24   the development of its DP2 antagonist fevipiprant for asthma after it failed another
  25   pair of Phase 3 clinical trials.
  26
              14.    Analysts noted that “[w]hen Gossamer raised $276 million in an IPO
  27

  28   earlier in [2019], it said Novartis’ fevipiprant phase 2 had been clinically validated
                                                 6
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   1   DP2 antagonism. That statement now looks premature, particularly when viewed
   2
       in light of the failures of other DP2 drugs.” 1
   3

   4          15.    On this news, the stock plummeted from a December 13, 2019 closing

   5   price of $25.37 per share to $15.96 per share, a one day drop of $9.41 or over 37%.
   6
              16.    As a result of Defendants’ wrongful acts and omissions, and the
   7

   8   precipitous decline in the market value of the Company’s securities, Lead Plaintiff

   9   and other Class members have suffered significant losses and damages.
  10
              17.    By this action, Lead Plaintiff, on behalf of himself and other Class
  11

  12   Members who also: (a) acquired Gossamer’s shares pursuant or traceable to the

  13   Offering; and/or (b) purchased or otherwise acquired Gossamer’s shares between
  14
       February 8, 2019 and December 13, 2019, inclusive, now seeks to obtain a
  15

  16   recovery for the damages suffered as a result of Defendants’ violations of the
  17   Securities Act and the Exchange Act, as alleged herein.
  18
              18.    The Securities Act claims asserted herein are purely strict liability and
  19

  20   negligence claims and do not sound in fraud.
  21                               JURISDICTION AND VENUE
  22
              19.    The federal law claims asserted herein arise under and pursuant to §§
  23

  24
       10(b) and 20(a) of the Exchange Act, 15 U.S.C. § 78(b) and 78t(a), and Rule 10b-5

  25   promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5, as well as under and
  26
       pursuant to §§ 11 and 15 of the Securities Act (15 U.S.C. §§ 77k and 77o).
  27
       1
  28    https://www.fiercebiotech.com/biotech/novartis-asthma-drug-fails-phase-3-raising-doubts-
                                                      7 30, 2020).
       about-gossamer-s-prospects (last visited on August
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   1          20.   This Court has subject matter jurisdiction over this action pursuant to
   2
       28 U.S.C. §1331, § 27 of the Exchange Act, 15 U.S.C. § 78aa, and § 22 of the
   3

   4   Securities Act.

   5          21.   This Court has jurisdiction over each Defendant named herein
   6
       because each Defendant is an individual or corporation who has sufficient
   7

   8   minimum contacts with this District so as to render the exercise of jurisdiction by

   9   the District Court permissible under traditional notions of fair play and substantial
  10
       justice.
  11

  12          22.   Venue is proper in this District pursuant to § 27 of the Exchange Act,

  13   15 U.S.C. § 78aa and 28 U.S.C. § 1931(b), as the Company has its principal
  14
       executive offices located in this District and conducts substantial business here.
  15

  16          23.   In connection with the acts, omissions, conduct and other wrongs in
  17   this Complaint, Defendants, directly or indirectly, used the means and
  18
       instrumentalities of interstate commerce, including but not limited to the United
  19

  20   States mail, interstate telephone communications and the facilities of the national
  21   securities exchange.
  22
                                            PARTIES
  23

  24
              24.   Lead Plaintiff Scott Kuhne, as reflected in his Certification (ECF No.

  25   1-2), acquired shares of Gossamer common stock at artificially inflated prices,
  26
       pursuant and/or traceable to the IPO, and has been damaged.
  27

  28
                                                 8
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   1         25.    Defendant Gossamer Bio, Inc. is incorporated under the laws of
   2
       Delaware, with its principal place of business at 3013 Science Park Road, San
   3

   4   Diego, CA 92121. Its common stock trades on the Nasdaq stock exchange under

   5   the symbol GOSS.
   6
             26.    Defendant Sheila Gujrathi, M.D., is the Co-Founder and Chief
   7

   8   Executive Officer of Gossamer, and has served in those capacities at all times

   9   relevant hereto. Dr. Gujrathi signed the false and misleading Registration
  10
       Statement.
  11

  12         27.    Defendant Bryan Giraudo is Gossamer’s Chief Financial Officer, and

  13   has served in that capacity at all times relevant hereto. Mr. Giraudo signed the false
  14
       and misleading Registration Statement.
  15

  16         28.    Defendants Gujrathi and Giraudo are named as Defendants for
  17   violations of all counts asserted herein, and are sometimes referred to as the
  18
       “Management Defendants.” The Management Defendants, because of their
  19

  20   positions with the Company, possessed the power and authority to control the
  21   contents of the Company’s reports to the SEC, press releases and presentations to
  22
       securities analysts, money and portfolio managers, and the investing public, i.e.,
  23

  24   the market. The Individual Defendants were provided with copies of the
  25   Company’s reports and press releases alleged herein to be misleading prior to, or
  26
       shortly after, their issuance and had the ability and opportunity to prevent their
  27

  28   issuance or cause them to be corrected. Because of their positions and access to
                                                 9
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    1   material, non-public information available to them, the Individual Defendants
    2
        knew that the adverse facts specified herein had not been disclosed to, and were
    3

    4   being concealed from, the public, and that the positive representations that were

    5   being made were then materially false and/or misleading. The Individual
    6
        Defendants are therefore liable for the misstatements and omissions plead herein.
    7

    8         29.   Defendant Faheem Hasnain is the Executive Chairman of the Board of

    9   Directors, and he signed the false and misleading Registration Statement.
   10
              30.   Defendant Joshua H. Bilenker, M.D., is a Director on Gossamer’s
   11

   12   Board of Directors, and he signed the false and misleading Registration Statement.

   13         31.   Defendant Kristina Burow is a Director on Gossamer’s Board of
   14
        Directors, and she signed the false and misleading Registration Statement.
   15

   16         32.   Defendant Russell Cox is a Director on Gossamer’s Board of
   17   Directors, and he signed the false and misleading Registration Statement.
   18
              33.   Defendant Thomas Daniel, M.D., is a Director on Gossamer’s Board
   19

   20   of Directors, and he signed the false and misleading Registration Statement.
   21         34.   Defendant Renée Galá, is a Director on Gossamer’s Board of
   22
        Directors, and she signed the false and misleading Registration Statement.
   23

   24         35.   Defendant Otello Stampacchia, Ph.D., is a former Director on
   25   Gossamer’s Board of Directors, and he signed the false and misleading
   26
        Registration Statement. Defendant Stampacchia is the founder and managing
   27

   28
                                                10
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    1   director of Omega Funds, a company that invests in biopharma and medical device
    2
        startups in the United States.
    3

    4         36.    Defendants Hasnain, Bilenker, Burow, Cox, Daniel, Galá, and

    5   Stampacchia are named as Defendants for violations of the Securities Act.
    6
        Underwriter Defendants
    7

    8         37.    Defendant Merrill Lynch, Pierce, Fenner & Smith Incorporated

    9   (“Merrill Lynch”) was an underwriter of Gossamer’s IPO and assisted in the
   10
        preparation and dissemination of Gossamer’s IPO materials.
   11

   12         38.    Defendant SVB Leerink LLC (“Leerink”) was an underwriter of

   13   Gossamer’s IPO and assisted in the preparation and dissemination of Gossamer’s
   14
        IPO materials.
   15

   16         39.    Defendant Barclays Capital Inc. (“Barclays”) was an underwriter of
   17   Gossamer’s IPO and assisted in the preparation and dissemination of Gossamer’s
   18
        IPO materials.
   19

   20         40.    Defendant Evercore Group L.L.C. (“Evercore”) was an underwriter of
   21   Gossamer’s IPO and assisted in the preparation and dissemination of Gossamer’s
   22
        IPO materials.
   23

   24         41.    Defendants Merrill Lynch, Leerink, Barclays, and Evercore are
   25   sometimes referred to herein as the “Underwriter Defendants,” and are named as
   26
        Defendants for violations of § 11 of the Securities Act.
   27

   28
                                                 11
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    1         42.    The Underwriter Defendants were instrumental in soliciting and
    2
        making the stock offered in the IPO available to the investing public, as set forth in
    3

    4   the following chart:

    5                     Name                                  Number of Shares
    6
                      Merrill Lynch                                  5,175,000
    7

    8                    Leerink                                     4,830,000
    9                   Barclays                                     3,795,000
   10
                        Evercore                                     3,450,000
   11

   12

   13
              43.    Pursuant to the Securities Act, the Underwriter Defendants are liable
   14
        for the false and misleading statements in the IPO materials. The Underwriter
   15

   16   Defendants’ failure to conduct adequate due diligence investigations was a
   17
        substantial factor leading to the harm complained of herein.
   18
              44.    The Underwriter Defendants are primarily investment banking houses
   19

   20   that specialize in, among other things, underwriting public offerings of securities.
   21
        As the underwriters of the IPO, the Underwriter Defendants earned lucrative
   22
        underwriting fees as a result of their participation in the IPO.
   23

   24         45.    In addition, the Underwriter Defendants met with potential investors
   25
        and presented highly favorable, but materially incorrect and/or materially
   26
        misleading, information about Gossamer, its business, products, plans, and
   27

   28   financial prospects, and/or omitted to disclose material information required to be
                                                  12
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    1   disclosed under the federal securities laws and applicable regulations promulgated
    2
        thereunder.
    3

    4         46.     Representatives of the Underwriter Defendants also assisted

    5   Gossamer and the Individual Defendants in planning the IPO. They further
    6
        purported to conduct an adequate and reasonable investigation into the business,
    7

    8   operations, products, and plans of the Company, an undertaking known as a “due

    9   diligence” investigation. During their “due diligence,” the Underwriter Defendants
   10
        had continual access to confidential corporate information concerning Gossamer’s
   11

   12   business, financial condition, products, plans, and prospects.

   13         47.     In addition to having access to internal corporate documents, the
   14
        Underwriter Defendants and/or their agents, including their counsel, had access to
   15

   16   Gossamer’s lawyers, management, directors, and top executives to determine: (1)
   17   the strategy to best accomplish the IPO; (2) the terms of the IPO, including the
   18
        price at which Gossamer’s common stock would be sold; (3) the language to be
   19

   20   used in the Registration Statement and Prospectus; (4) what disclosures about
   21   Gossamer would be made in the Registration Statement and Prospectus; and (5)
   22
        what responses would be made to the SEC in connection with its review of the
   23

   24   Registration Statement. As a result of those constant contacts and communications
   25   between the Underwriter Defendants’ representatives and Gossamer’s management
   26
        and top executives, at a minimum, the Underwriter Defendants should have known
   27

   28
                                                 13
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    1   of the undisclosed and/or misrepresented issues at Gossamer in the IPO materials
    2
        as alleged herein.
    3

    4             48.    The Underwriter Defendants caused the Registration Statement to be

    5   filed with the SEC and declared effective in connection with offers and sales of
    6
        Gossamer’s shares pursuant and/or traceable to the IPO and relevant offering
    7

    8   materials, including to Lead Plaintiff and the Class.

    9                                SUBSTANTIVE ALLEGATIONS
   10
                  49.    Gossamer is a clinical-stage biopharmaceutical company focused on
   11
        discovering, acquiring, developing, and commercializing therapeutics in the
   12

   13   disease areas of immunology, inflammation, and oncology. The Company’s lead
   14
        and most advanced drug candidate, GB001, is an oral antagonist of prostaglandin
   15
        D2 receptor 2, or DP2, in development for the treatment of moderate-to-severe
   16

   17   eosinophilic asthma and other allergic conditions. Gossamer’s GB001 product is in
   18
        Phase 2 development for asthma and rhinosinusitis.
   19
                  50.    Gossamer “acquired GB001 pursuant to a merger agreement with AA
   20

   21   Biopharma” in January 2018, “under which [the Company] issued to former AA
   22
        Biopharma shareholders an aggregate of 20,000,000 shares of [Gossamer’s] Series
   23

   24
        Seed convertible preferred stock and 1,101,278 shares of [Gossamer’s] common

   25   stock.” 2 Specifically, Gossamer acquired GB001 through an acquisition of
   26
        Pulmagen Therapeutics (Asthma) Limited, or Pulmagen, a wholly-owned
   27

   28
        2                                                  14
            https://www.sec.gov/Archives/edgar/data/1728117/000119312519032320/d626440d424b4.htm at 82.
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    1   subsidiary of AA BioPharma, “after its partner, Teijin, completed a positive Phase
    2
        2, proof-of-concept clinical trial in Japanese patients.” 3
    3

    4              51.    Gossamer commenced a Phase 2b clinical trial for GB001 in October

    5   2018.
    6
                   52.   According to the Company:
    7

    8              GB001 has been shown in preclinical studies to be a selective
                   antagonist of the DP2 receptor. GB001 binds reversibly to human
    9              DP2 with an affinity, or Ki, of 1 to 2 nanomolar, significantly greater
   10              than its affinity for the other PGD2 receptors. No significant activity
                   was demonstrated in a standard selectivity panel of 90 other receptors
   11              and enzymes. GB001 has also shown a slow rate of disassociation
   12              from DP2, with a receptor residence time of 19.8 minutes, as
                   measured by half-life. Additionally, in an in vitro assay, GB001
   13              inhibited PGD2 induced internalization of DP2. Combined with our
   14              observed human plasma half-life of 10 to 15 hours, we believe these
                   measurements support the oral, once-daily dosing regimen of GB001. 4
   15

   16               DEFENDANTS’ MATERIALLY UNTRUE AND MISLEADING
                    STATEMENTS AND/OR OMISSIONS REGARDING THE IPO
   17
                   53.   The IPO materials and Gossamer’s post-IPO public statements
   18

   19   contained materially misleading misrepresentations and omitted information
   20
        necessary to make the statements made therein not misleading, and omitted
   21
        material facts required to be stated therein. Specifically, as alleged herein, the IPO
   22

   23   materials and Gossamer’s post-IPO statements misled investors with respect to: (1)
   24
        the purported clinical validation of Novartis’ oral DP2 antagonist; and (2)
   25

   26
        Gossamer’s purported plan to release the results of its interim analysis of the Phase

   27

   28   3
            Id. at 95.
        4
            Id. at 93.                               15
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    1   2b LEDA study and to launch the first of two Phase 3 trials for GB001 upon such
    2
        analysis.
    3

    4         54.   On or about December 21, 2018, Gossamer filed with the SEC a Form

    5   S-1 Registration Statement (File Number 333-228984), beginning the process
    6
        toward what would lead to the Company’s February 2019 IPO.
    7

    8         55.   The S-1 Registration Statement provided, in relevant part:

    9         GB001 (DP2 Antagonist)
   10
              GB001 is an oral antagonist of prostaglandin D2 receptor 2, or DP2,
   11         in development for the treatment of moderate-to-severe eosinophilic
   12         asthma and other allergic conditions. Eosinophilic asthma is caused by
              high levels of white blood cells known as eosinophils and is
   13         associated with more severe symptoms, late-onset disease and
   14         resistance to steroid treatment. We estimate that approximately 50%
              of severe asthma patients in the United States have eosinophilic
   15         asthma. Despite the availability of new biologic therapies for these
   16         patients, asthma exacerbations remain a significant healthcare
              problem and unmet medical need. As of December 15, 2018, GB001
   17         had been studied in 409 subjects in total and was generally well
   18         tolerated. In a Phase 2 clinical trial conducted in Japan, GB001
              showed a statistically significant improvement in time-to-first asthma
   19         exacerbation compared to placebo. In a separate 248 subject Phase 2
   20         clinical trial, neither treatment group, GB001 nor montelukast,
              achieved the primary endpoint of improvement in forced expiratory
   21         volume in one second, or FEV1, as compared to placebo, which we
   22         believe was primarily related to study design and execution issues
              related to patient selection, including adherence to inhaled
   23         corticosteroid therapy, eosinophilic phenotype thresholds and disease
   24         severity. A single serious adverse event deemed by the investigator
              likely to be related to study drug was observed in a Japanese patient
   25         who had received a 160 mg dose of GB001 in a Phase 1 clinical trial
   26         conducted by Teijin Pharma Limited, or Teijin. The patient had
              GB001 levels approximately three to five times higher than the other
   27         patients receiving the 160 mg dose, and the dose was significantly
   28         higher than the highest dose of 60 mg currently being evaluated in our
                                               16
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    1         ongoing Phase 2b clinical trial. We commenced a Phase 2b clinical
    2
              trial in moderate-to-severe eosinophilic asthma in October 2018.

    3         Furthermore, we believe that there are a number of indications along
    4         the allergic spectrum for which GB001 may provide benefit.
              Accordingly, we plan to pursue the parallel development of GB001 in
    5         chronic rhinosinusitis with nasal polyps, or CRSwNP, and chronic
    6         spontaneous urticaria, or CSU. We expect to initiate proof-of-concept
              Phase 2 clinical trials for these indications in 2019. We retain
    7         worldwide rights to GB001, excluding Japan.
    8
              56.   The S-1 Registration Statement further provided, in relevant part:
    9

   10         DP2 antagonism has been clinically validated by Novartis’ oral DP2
              antagonist, fevipiprant, in a Phase 2 clinical trial. In this trial, both
   11         the 150 mg once-daily and 75 mg twice-daily doses demonstrated
   12         statistically significant improvements in FEV1 compared to placebo in
              adult patients with asthma inadequately controlled with ICS. In
   13         addition, post hoc analyses of Phase 2 safety data related to asthma
   14         worsening, including exacerbations, appeared to demonstrate a
              reduction in the number of subjects experiencing an asthma event on
   15         fevipiprant compared to placebo. As of December 15, 2018,
   16         fevipiprant, at 150 mg once-daily and 450 mg once-daily doses, is
              being investigated by Novartis in six Phase 3 clinical trials in asthma
   17         patients.
   18
        (Emphasis added.)
   19

   20         57.   The S-1 Registration Statement further provided, in relevant part:
   21         Clinical Development History of GB001
   22
                     We acquired GB001 through our acquisition of Pulmagen
   23         Therapeutics (Asthma) Limited, or Pulmagen, a wholly-owned
   24         subsidiary of our AA BioPharma Inc. subsidiary, in January 2018,
              after its partner, Teijin, completed a positive Phase 2, proof-of-
   25         concept clinical trial in Japanese patients. We have rights outside of
   26         Japan to all of the data from the two Phase 2 clinical trials conducted
              by Pulmagen and Teijin described below. As of December 15, 2018,
   27         409 subjects have received at least one dose of GB001.
   28
                                                 17
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    1          Summary of Completed Pulmagen Phase 2 Clinical Trial
    2
                      In December 2014, Pulmagen completed a Phase 2 clinical trial
    3          of GB001, the primary objectives of which were (1) to evaluate the
    4          safety and efficacy of 20 mg GB001 once daily compared to placebo
               and an active comparator, montelukast, over a 10-week treatment
    5          period and (2) to evaluate the effect of the co-administration of 10 mg
    6          montelukast once daily with GB001 treatment in a two-week
               extension. The primary endpoint was improvement in FEV1 over 10
    7          weeks. The study enrolled 248 patients with mild to moderate asthma
    8          that were uncontrolled on low- or medium-dose ICS, randomized
               1:1:1 to placebo, 20 mg GB001 once daily and 10 mg montelukast
    9          once daily. Patients were put on a standard medium-dose of ICS in a
   10          four week lead-in to the study, during which they were also removed
               from their LABA, if applicable.
   11

   12                  GB001 was generally well tolerated with a treatment emergent
               adverse event, or TEAE, rate similar to placebo, but the study did not
   13          meet its primary endpoint. Notably, neither the active comparator,
   14          montelukast, nor GB001, showed statistically significant differences
               in FEV1 improvement as compared to placebo. We believe the lack of
   15          statistically significant differences between the active treatment arms
   16          and placebo was primarily related to study design and execution
               issues related to patient selection, including adherence to ICS therapy,
   17          eosinophilic phenotype thresholds and disease severity.
   18
               58.   The S-1 Registration Statement was signed by Defendants Gujrathi,
   19

   20   Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá, and Stampacchia. This
   21   document also identified the Underwriter Defendants as the underwriters of the
   22
        IPO.
   23

   24          59.   On or about January 23, 2019, Gossamer filed with the SEC a Form
   25   S-1/A Registration Statement, which would later be utilized for the IPO, and which
   26
        incorporated a prospectus to be used in connection with the offer and sale of
   27

   28   Gossamer shares.
                                                 18
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    1         60.    The January 23, 2019 Form S-1/A Registration Statement contained
    2
        substantially similar representations regarding GB001 and Novartis’ Phase 2
    3

    4   clinical trial as those in the Form S-1 Registration Statement set forth above.

    5         61.    The January 23, 2019 Form S-1/A Registration Statement was signed
    6
        by Defendants Gujrathi, Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá,
    7

    8   and Stampacchia. This document also identified the Underwriter Defendants as the

    9   underwriters of the IPO.
   10
              62.    On or about January 30, 2019, Gossamer filed with the SEC a Form
   11

   12   S-1/A Registration Statement, which would later be utilized for the IPO, and which

   13   incorporated a prospectus to be used in connection with the offer and sale of
   14
        Gossamer shares.
   15

   16         63.    The January 30, 2019 Form S-1/A Registration Statement contained
   17   substantially similar representations regarding GB001 and Novartis’ Phase 2
   18
        clinical trial as those in the Form S-1 Registration Statement set forth above.
   19

   20         64.    The January 30, 2019 Form S-1/A Registration Statement was signed
   21   by Defendants Gujrathi, Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá,
   22
        and Stampacchia. This document also identified the Underwriter Defendants as the
   23

   24   underwriters of the IPO.
   25         65.    On or about February 8, 2019, Gossamer filed the final version of the
   26
        public offering prospectus for the IPO with the SEC on Form 424(b)(4) (the
   27

   28
                                                  19
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    1   “Prospectus”),5 which forms part of the Registration Statement that became
    2
        effective on February 7, 2019 (collectively, the “Offering Documents”). The
    3

    4   Prospectus solicited investors for an IPO of 17.25 million shares of Gossamer

    5   common stock at a price of $16.00 per share, for proceeds – after underwriting
    6
        discounts and commissions, but before expenses – to the Company of
    7

    8   approximately $256.68 million.

    9            66.     According to the Prospectus, “[o]ur directors and executive officers
   10
        and holders of substantially all of our outstanding securities have entered into lock-
   11

   12   up agreements with the underwriters pursuant to which they may not, with limited

   13   exceptions, for a period of 180 days from the date of this prospectus, offer, sell or
   14
        otherwise transfer or dispose of any of our securities, without the prior written
   15

   16   consent of” the Underwriter Defendants.
   17            67.     The Prospectus further provided that:
   18
                 DP2 antagonism has been clinically validated by Novartis’ oral DP2
   19            antagonist, fevipiprant, in a Phase 2 clinical trial. In this trial, both the
   20            150 mg once-daily and 75 mg twice-daily doses demonstrated
                 statistically significant improvements in FEV1 compared to placebo in
   21            adult patients with asthma inadequately controlled with ICS. In
   22            addition, post hoc analyses of Phase 2 safety data related to asthma
                 worsening, including exacerbations, appeared to demonstrate a
   23            reduction in the number of subjects experiencing an asthma event on
   24            fevipiprant compared to placebo. As of December 31, 2018,
                 fevipiprant, at 150 mg once-daily and 450 mg once-daily doses, is
   25            being investigated by Novartis in six Phase 3 clinical trials in asthma
   26            patients.
   27

   28
        5                                                  20
            https://www.sec.gov/Archives/edgar/data/1728117/000119312519032320/d626440d424b4.htm.
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    1         GB001 has been shown in preclinical studies to be a selective
    2
              antagonist of the DP2 receptor. GB001 binds reversibly to human
              DP2 with an affinity, or Ki, of 1 to 2 nanomolar, significantly greater
    3         than its affinity for the other PGD2 receptors. No significant activity
    4         was demonstrated in a standard selectivity panel of 90 other receptors
              and enzymes. GB001 has also shown a slow rate of disassociation
    5         from DP2, with a receptor residence time of 19.8 minutes, as
    6         measured by half-life. Additionally, in an in vitro assay, GB001
              inhibited PGD2 induced internalization of DP2. Combined with our
    7         observed human plasma half-life of 10 to 15 hours, we believe these
    8         measurements support the oral, once-daily dosing regimen of GB001.

    9         68.    In the Prospectus, Gossamer stated that it “expect[ed] to conduct an
   10
        interim analysis in the first half of 2020” on GB001, and that “[i]f the interim
   11

   12   analysis is positive, we plan on initiating a Phase 3 clinical trial thereafter.”

   13         69.    In the Prospectus, Gossamer further stated:
   14
              We commenced a Phase 2b clinical trial of GB001 in moderate-to-
   15         severe eosinophilic asthma in October 2018, and we expect to conduct
   16         an interim analysis of the results of this trial in the first half of 2020.
              We have designed this trial to efficiently assess proof-of-
   17         principle and help enable rapid transition to Phase 3 clinical trials,
   18         and we have held a Type C meeting with the FDA to inform our trial
              design and endpoints. We plan on enrolling 480 patients in the study
   19         in a 1:1:1:1 randomized to three GB001 dose arms of 20 mg, 40 mg
   20         and 60 mg per day and one placebo arm with once-daily dosing.
   21         We believe that we have designed our trial in a manner to address the
   22         potential shortcomings of the Pulmagen Phase 2 clinical trial, in that:
   23
                            the study population will consist of more severe patients
   24                than those enrolled in the Pulmagen Phase 2 clinical trial;
   25
                          enrollment inclusion criteria will be based on a history of
   26                asthma exacerbations within the last year;
   27

   28
                                                   21
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    1                      enrolled patients will be required to have moderate-to-
    2                severe asthma with eosinophil counts greater than or equal to
                     250 cells/µL; and
    3

    4                      enrolled patients will be closely monitored during the
                     run-in period to help ensure that the lack of adherence to
    5                background therapy is not a contributing factor for their poorly
    6                controlled asthma.
    7         The primary endpoint is reduction in asthma worsening from baseline,
    8         assessed at week 24, with an additional four weeks of follow-up. The
              parameters included in the asthma worsening composite primary
    9         endpoint include changes in FEV1, AM PEF, rescue medication use
   10         and asthma control and severe asthma exacerbations. We will also
              assess FEV1 independently as a secondary efficacy measure.
   11

   12         We plan to conduct an interim analysis after approximately 320
              patients complete the 24-week treatment period, and we expect the
   13         results of this interim analysis to be available in the first half of 2020.
   14         If the results obtained in the interim analysis support further
              development, we plan on initiating our first Phase 3 clinical trial
   15
              thereafter. We expect to report full data from the Phase 2b clinical
   16         trial in the second half of 2020. If the full data support further
              development, we will initiate a second Phase 3 clinical trial.
   17

   18         (Emphasis added).
   19
              70.    The foregoing statements in ¶¶ 54-57, 59-60, 62-63, and 65-69 were
   20
        materially untrue and/or misleading because they misrepresented and/or failed to
   21

   22   disclose adverse facts, as alleged herein. Specifically, these statements: (1) misled
   23
        investors as to the clinical validation of DP2 antagonism by Novartis’ fevipiprant
   24
        product, with the implication that this would increase the likelihood of success for
   25

   26   Gossamer’s GB001 candidate; and (2) misrepresented that Gossamer intended to
   27
        (i) release the results of its first half 2020 interim analysis of the Phase 2b LEDA
   28
                                                  22
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    1   study for GB001 and (ii) would immediately launch a Phase 3 trial for GB001
    2
        should that interim analysis be successful.
    3

    4               POST-IPO FALSE AND MISLEADING STATEMENTS

    5         71.    On March 22, 2019, Gossamer filed its 2018 Annual Report on Form
    6
        10-K (the “2018 10-K”) with the SEC. The 2018 10-K contained substantially
    7

    8   similar representations regarding GB001 and Novartis’ Phase 2 clinical trial as

    9   those in the Form S-1 Registration Statement and Prospectus as set forth above.
   10
        Specifically, the 2018 10-K provided that:
   11

   12         DP2 antagonism has been clinically validated by Novartis’ oral DP2
              antagonist, fevipiprant, in a Phase 2 clinical trial. In this trial, both the
   13         150 mg once-daily and 75 mg twice-daily doses demonstrated
   14         statistically significant improvements in FEV1 compared to placebo in
              adult patients with asthma inadequately controlled with ICS. In
   15         addition, post hoc analyses of Phase 2 safety data related to asthma
   16         worsening, including exacerbations, appeared to demonstrate a
              reduction in the number of subjects experiencing an asthma event on
   17         fevipiprant compared to placebo.
   18
              72.    The 2018 10-K also provided: “[w]e commenced a Phase 2b clinical
   19

   20   trial in moderate-to-severe eosinophilic asthma in October 2018 and expect to
   21   conduct an interim analysis in the first half of 2020. If the interim analysis is
   22
        positive, we plan on initiating a Phase 3 clinical trial thereafter.”
   23

   24         73.    These statements in the 2018 10-K: (1) misled investors as to the
   25   clinical validation of DP2 antagonism by Novartis’ fevipiprant product, with the
   26
        implication that this would increase the likelihood of success for Gossamer’s
   27

   28   GB001 candidate; and (2) misrepresented that Gossamer intended to (i) release the
                                                   23
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    1   results of its first half 2020 interim analysis of the Phase 2b LEDA study for
    2
        GB001 and (ii) would immediately launch a Phase 3 trial for GB001 should that
    3

    4   interim analysis be successful.

    5         74.    The Management Defendants signed certifications pursuant to the
    6
        Sarbanes-Oxley Act of 2002 (“SOX”), which were appended to the 2018 10-K as
    7

    8   exhibits. These certifications attested that “[t]he information contained in the [2018

    9   10-K] fairly presents, in all material respects, the financial condition and results of
   10
        operations of the Company.”
   11

   12         75.    On May 14, 2019, Gossamer issued its financial results for the First

   13   Quarter of 2019. In the Form 10-Q Gossamer filed with the SEC, the Company
   14
        stated: “[w]e commenced a Phase 2b clinical trial for our most advanced product
   15

   16   candidate, GB001, in moderate-to-severe eosinophilic asthma in October 2018 and
   17   expect to conduct an interim analysis in the first half of 2020. If the interim
   18
        analysis is positive, we plan on initiating a Phase 3 clinical trial thereafter.”
   19

   20         76.    This statement misrepresented that Gossamer intended to (i) release
   21   the results of its first half 2020 interim analysis of the Phase 2b LEDA study for
   22
        GB001 and (ii) would immediately launch a Phase 3 trial for GB001 should that
   23

   24   interim analysis be successful.
   25         77.    The Management Defendants signed certifications pursuant to the
   26
        Sarbanes-Oxley Act of 2002 (“SOX”), which were appended to the First Quarter
   27

   28   2019 10-Q as exhibits. These certifications attested that “[t]he information
                                                   24
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    1   contained in the [First Quarter 2019 10-Q] fairly presents, in all material respects,
    2
        the financial condition and results of operations of the Company.”
    3

    4         78.    On May 14, 2019, the Company held an earnings call with analysts to

    5   discuss its First Quarter 2019 financial results. On this call, Defendant Gujrathi
    6
        stated:
    7

    8         Let us start with our most advanced clinical stage product candidate
              GB001, an oral DP2 antagonist, which is being developed for
    9         eosinophilic asthma and other allergic conditions, including chronic
   10         rhinositis (sic) [rhinosinusitis], both with and without nasal polyps,
              and chronic spontaneous urticaria.
   11

   12         As we had previously announced, our Phase IIb trial in moderate to
              severe eosinophilic asthma known as the LEDA study is currently
   13         enrolling patients and we remain on track to trigger an interim
   14         analysis in the first half of 2020. The LEDA study is testing 3 once
              daily doses of GB001, 20, 40 and 60 milligrams against placebo in a
   15         24-week study.
   16
              All patients will remain on background therapy throughout the study
   17         and the primary endpoint is a composite measure known as asthma
   18         worsening.
   19         If the interim analysis of the study in the first half of 2020 is positive,
   20         we plan to begin the first of 2 safety trials designed to support NDA
              registration with the FDA.
   21

   22         In February at this [AAAAI] meeting in San Francisco, Dr. Hector
              Ortega, who is leading the development of GB001 at Gossamer,
   23         presented results of a post hoc analysis of a GB001 study in patients
   24         with mild to moderate, partly controlled atopic asthma. Findings
              presented suggested that fractional exhaled nitric oxide, also known as
   25         FeNO, could serve as a useful prognostic marker for treatment
   26         response to GB001 in addition to elevated eosinophil, which is the
              marker we’re currently using to unveil the LEDA study.
   27

   28         In the analysis, we found marked reductions in FeNO levels as well as
              greater numeric improvements in25lung function and asthma control,
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    1         where also to placebo in patients with high baseline FeNO as
    2
              compared to patients with low baseline FeNO. We are excited about
              these results and the potential implications for future development of
    3         GB001.
    4
              We have also started to execute our strategy to develop GB001 in
    5         other allergic conditions driven by Type 2 cytokine biology, where the
    6         GB001 could potentially be first in class.

    7         79.    On this same May 14, 2019 call, an analyst from Bank of America
    8
        Merrill Lynch asked: “all investors are looking forward to the results from
    9

   10   Novartis on the first batch of clinical data from Phase III trials for fevipiprant. So

   11   can you talk about the read-through? If it’s positive, what does that mean for
   12
        GB001, which is obvious I guess? And then, which is negative, how should we
   13

   14   think about any comparative advantage your compound GB001 may have against

   15   fevipiprant here?” Defendant Gujrathi responded:
   16
              So let’s start with the Novartis study [fevipiprant] program. We are
   17         also very much looking forward to their Phase III data readouts. Just
   18         to remind everyone, they have a large Phase III program actually
              consisting of 6 Phase III trials within asthma. 4 of those safety trials
   19         are reading out later this year.
   20
              In terms of their recent guidance, that is still on track and so we are
   21         anticipating they have 2 exacerbation trials that will be reading out in
   22         September and December time frame and then 2 FEV1 or lung
              function trials reading out in around November. So these are LUSTER
   23         and the ZEAL trials that will be reading out.
   24
              And so if that -- those trials are positive in the moderate-to-severe
   25         asthmatic population including a subgroup eosinophils high patients,
   26         with that, it is a very much a validation of the mechanism of DP2
              antagonism and so I think that will be positive to read through to our
   27         program because of a similar mechanism of action that we -- both the
   28         program share. So we are very much looking forward to that.
                                                 26
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    1         [Now they’re] going into a broad moderate to severe eosinophilic
    2
              asthma population, but their primary endpoint is on the subgroup of
              high eosinophils or Th2 high subgroups. And we do know that they
    3         have stated that, that is their base case in terms of where they think
    4         they would see positive data, which is very consistent with the way
              we view the biologic relevance and activity both DP2 antagonism and
    5         for GB001.
    6
              Now we do have some points of differentiation to fevipiprant. We
    7         have a very potent selective molecule which is GB001 and that we
    8         have high binding affinity to the DP2 receptor. We also have
              prolonged receptor residence time, which is greater than what has
    9         been observed with fevipiprant. We have about an 18- to 20-minute
   10         receptor residence time, but Novartis publishes around 12 minutes and
              we do think that’s very important for the mechanism of action here as
   11         we inhibit PGD2 internalization of the DP2 receptor in a very
   12         effective manner.

   13         And also very importantly, we have, we say, greater PK
   14         characteristics for GB001 and that is different. It has to go up to 150
              and 450 milligrams to really reach their exposure that they think are
   15         clinically efficacious. And we are able to achieve that with much
   16         lower dosing and we think actually better coverage over a 24-hour
              period than those dose levels. So there is a potential that we could
   17         show really potentially better efficacy in the clinic in the case that
   18         fevipiprant doesn’t meet their mark.
   19         So those are very important characteristics for us for GB001. We will
   20         be watching closely to see what the clinical efficacy and safety profile
              is coming out of the fevipiprant Phase III trials and of course we are
   21         greatly anticipating seeing our interim data in the first half of 2020
   22         followed by the full data readouts later that year.
   23         80.    Also on May 14, 2019, Defendants Gujrathi and Giraudo participated
   24
        in the Bank of America Merrill Lynch Health Care Conference. Defendant
   25

   26   Gujrathi stated:
   27         [T]he first program GB001 is an oral small molecule taken once a
   28         day. It’s a DP2 antagonist that we’ve taken forward for moderate to
                                               27
              severe asthma, specifically eosinophilic asthma as well as 2 other
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    1         allergic indications: chronic rhinosinusitis with nasal polyps and
    2
              without nasal polyps; and chronic spontaneous urticaria. And we are
              on track actually to -- or in terms of executing on all 3 of these clinical
    3         trials. So the first trial we’ve named LEDA. We started that trial in
    4         October of last year. We are very much on track to having an interim
              data readout in the first half of 2020, and this is, again, going into
    5         moderate to severe eosinophilic asthma patients.
    6
              In terms of really important news that will be coming out for the
    7         asthma population, for many of you who know there is another
    8         molecule in the class. Novartis has a drug called fevipiprant which
              they’ll be reading out on 4 Phase III trials in the fourth quarter this
    9         year. So we’re very excited to see that data readout. They have 2 trails
   10         going on in exacerbations and 2 trials looking at lung function. The
              exacerbation trial is in what we call moderate to severe [geno step] 4
   11         and 5. The lung function trials are actually in step 3, 4 and 5, so
   12         they’ve expanded that population. And so that’ll be a very important
              set of data for ourselves. And then, again, we will be reading out
   13         shortly thereafter, and hopefully -- hoping to initiate our first clinical
   14         trial in the Phase III setting, which will be a registration-directed
              study.
   15

   16         81.   An analyst from Bank of America Merrill Lynch asked on this call:

   17   “[s]ince GB001 is the program in the clinic, maybe you can talk about the status
   18
        enrollment. For example, there are a lot of development programs for asthma
   19

   20   today. There’s also the biologics that are available today in the market. Do you see
   21   competition for enrollment for GB001 in the Phase IIb program?” Defendant
   22
        Gujrathi responded:
   23

   24         We do in the sense that there are other programs enrolling. But I have
              to say there are not that many orals. And so that’s really been the
   25         differentiation here that we want to be, again, that oral treatment of
   26         choice. And Novartis has actually finished enrolling their large Phase
              III program, they had several Phase III programs, actually 6 going on.
   27         And so that’s been very helpful for us. And there is a lot of
   28         excitement, actually, in the investigator community. Our team just did
              a roadshow in Europe led by Dr. 28  Hector Ortega, who is our medical
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    1         lead. And I just mention him because he actually was very pivotal in
    2
              defining eosinophilic asthma, working at GSK and getting the first
              anti-IL-5 approved, mepolizumab or Nucala. And so he’s been out on
    3         the road talking to our investigators, so we think that they’re pretty
    4         excited about DP2 antagonism. And so we’ve seen a nice uptick in
              our enrollment. So we look at enrollment curves and we like to see
    5         how we’re tracking. And so we’re very much on track in terms of
    6         where we need to be at this time to be delivering on an interim readout
              in the first half of ‘20. So I think that’s going very well.
    7

    8         82.    The same analyst followed up with another question about GB001:

    9   “[a]nd then you licensed GB001, which actually had a failed Phase II trial. So we
   10
        frequently get questions from the investors about, okay, why did that trial fail? And
   11

   12   what do you think your Phase IIb would actually succeed in that context?”

   13   Defendant Gujrathi responded:
   14
              Then of course, Novartis had positive Phase II data looking at lung
   15         function, and then they had a positive mechanistic study where they
   16         saw a robust reduction in speed of eosinophils. And they recently
              reported seeing really nice effects on airway epithelial cells or smooth
   17         muscle cells. So when we look at the totality of the data, we do know
   18         we have a very potent selective molecule and then just look the way
              we’re going after moderate to severe asthmatics with high eosinophils,
   19         and potentially high FeNO that will be in Phase III, I think we feel
   20         like we have a fair amount of clinical validation for the program.
   21         83.    These May 14, 2019 statements: (1) misled investors as to the clinical
   22
        validation of DP2 antagonism by Novartis’ fevipiprant product, with the
   23

   24   implication that this would increase the likelihood of success for Gossamer’s
   25   GB001 candidate; and (2) misrepresented that Gossamer intended to (i) release the
   26
        results of its first half 2020 interim analysis of the Phase 2b LEDA study for
   27

   28
                                                 29
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    1   GB001 and (ii) would immediately launch a Phase 3 trial for GB001 should that
    2
        interim analysis be successful.
    3

    4         84.    On August 8, 2019, Gossamer issued its financial results for the

    5   Second Quarter of 2019. In the Form 10-Q Gossamer filed with the SEC, the
    6
        Company stated: “[w]e commenced a Phase 2b clinical trial for our most advanced
    7

    8   product candidate, GB001, in moderate-to-severe eosinophilic asthma in October

    9   2018 and expect to conduct an interim analysis in the first half of 2020. If the
   10
        interim analysis is positive, we plan on initiating a Phase 3 clinical trial thereafter.”
   11

   12         85.    The Management Defendants signed certifications pursuant to the

   13   Sarbanes-Oxley Act of 2002 (“SOX”), which were appended to the Second
   14
        Quarter 2019 10-Q as exhibits. These certifications attested that “[t]he information
   15

   16   contained in the [Second Quarter 2019 10-Q] fairly presents, in all material
   17   respects, the financial condition and results of operations of the Company.”
   18
              86.    On August 8, 2019, Gossamer held an earnings call with analysts to
   19

   20   discuss its Second Quarter 2019 financial results. On this call, Defendant Gujrathi
   21   reiterated that “our Phase IIb trial in moderate to severe eosinophilic asthma,
   22
        known as the LEDA study, began enrolling patients in October of 2018. LEDA is a
   23

   24   global Phase IIb study, testing once-daily dosing regimen of GB001 over a 24-
   25   week treatment period. . . . We are happy to reaffirm that enrollment in the study
   26
        remains on track to trigger an interim analysis in the first half of 2020. After this
   27

   28
                                                   30
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    1   interim analysis, we expect full top line Phase IIb results to read out in the second
    2
        half of 2020.”
    3

    4         87.    On this call, an analyst from SVB Leerink asked: “I was wondering if

    5   I could get your thoughts on how you interpret Novartis’ delay of their Phase III
    6
        data for fevipiprant and how, if at all, it will impact your strategy?” Defendant
    7

    8   Gujrathi responded:

    9         Yes. So earlier this year, Novartis did announce a delay in terms of --
   10         originally they had outlined they will be reading out top line data from
              4 of their clinical Phase III trials that they are conducting with
   11         currently, the fevipiprant by the end of this year. They revised that
   12         guidance to state that 2 of their Phase III trials would be reading out
              by the end of this year and 2 would be reading out in the first quarter
   13         of 2020, namely there are 2 trials that are really characterizing lung
   14         function and a more moderate asthma population, ZEAL 1 and 2, will
              be reading out in the year; and LUSTER-1 and 2, which are really
   15         their exacerbation trials, will be reading out in the first quarter 2020.
   16
              So we don’t really view this as a significant impact to our program,
   17         and that is very much in the similar time frame. I think they just
   18         wanted to get all of their data together and be able to report out
              simultaneously from what we understand from the earnings call. And
   19         I think what’s most critical to relay to our investors is really the
   20         differences in the trials is that ZEAL 1 and 2 are lung function trials
              going into less severe patient population. And really, we’re very
   21         focused on the readout for LUSTER-1 and 2 since those are a very
   22         similar trial population as to what we’re enrolling in LEDA. So just to
              remind everyone, LUSTER-1 and 2 are enrolling moderate to severe
   23         eosinophilic asthmatic patients as well as noneosinophilic asthmatic
   24         patients with a GINA severity of steps 4 and 5, which is the same
              population that we're enrolling in terms of the disease severity in
   25         LEDA. So I think we’re really focused on the outcomes of LUSTER-1
   26         and 2, which will hopefully be happening at the beginning of next
              year. But really all eyes are looking forward. We’re very focused on
   27         execution of the LEDA trials we’ve discussed and very excited about
   28         the progress of the program.
                                                 31
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    1         88.    On September 12, 2019, Gossamer announced that Defendant
    2
        Stampacchia had resigned from the Company’s Board of Directors.
    3

    4         89.    The statements in ¶¶ 71-72, 74-75, 77-82, and 84-87, as well as those

    5   in the IPO materials, were materially false and misleading and omitted to disclose
    6
        material information. Specifically, Defendants misrepresented and/or failed to
    7

    8   disclose to investors: (1) the purported clinical validation of Novartis’ oral DP2

    9   antagonist; (2) that Gossamer did not plan to release the details of its interim
   10
        analysis of the Phase 2b LEDA study and did not plan to launch a Phase 3 trial for
   11

   12   GB001 upon such analysis; and (3) as a result of the foregoing, Defendants’ public

   13   statements were materially false and misleading at all relevant times.
   14
              90.    Defendants knew, or in reckless disregard for the truth should have
   15

   16   known, that at the time the statements in ¶¶ 71-72, 74-75, 77-82, and 84-87, as well
   17   as those in the IPO materials, were made, they were false and/or misleading, and/or
   18
        failed to disclose material information to investors.
   19

   20            THE TRUTH BEGINS TO EMERGE AND DEFENDANTS
                       MAKE ADDITIONAL MISSTATEMENTS
   21
              91.    In October 2019, Novartis announced that its fevipiprant product had
   22

   23   failed to improve long function in two Phase 3 trials, as measured by FEV1, over
   24
        placebo. This was after similar DP2 drugs developed by AstraZeneca and Amgen
   25

   26
        failed in clinical trials. Analysts recognized that this failure “could have negative

   27   implications for Gossamer Bio, which has a DP2 antagonist in phase 2b. When
   28
        Gossamer raised $276 million in an IPO
                                            32 earlier in the year, it said Novartis’
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    1   fevipiprant phase 2 had clinically validated DP2 antagonism. That statement
    2
        now looks premature, particularly when viewed in light of the failures of other
    3

    4   DP2 drugs.” 6

    5          92.    On November 12, 2019, Gossamer issued its financial results for the
    6
        Third Quarter of 2019. In the Form 10-Q Gossamer filed with the SEC, the
    7

    8   Company stated: “[w]e commenced our LEDA Phase 2b clinical trial for our most

    9   advanced product candidate, GB001, in moderate-to-severe eosinophilic asthma in
   10
        October 2018. We expect to conduct an interim analysis in the first half of 2020,
   11

   12   with full results from the study expected in the second half of 2020. If the interim

   13   analysis is positive, we plan on initiating a Phase 3 clinical trial thereafter.”
   14
               93.    This statement misrepresented that Gossamer intended to (i) release
   15

   16   the results of its first half 2020 interim analysis of the Phase 2b LEDA study for
   17   GB001 and (ii) would immediately launch a Phase 3 trial for GB001 should that
   18
        interim analysis be successful.
   19

   20          94.    The Management Defendants signed certifications pursuant to the
   21   Sarbanes-Oxley Act of 2002 (“SOX”), which were appended to the Third Quarter
   22
        2019 10-Q as exhibits. These certifications attested that “[t]he information
   23

   24   contained in the [Third Quarter 2019 10-Q] fairly presents, in all material respects,
   25   the financial condition and results of operations of the Company.”
   26

   27
        6
   28    https://www.fiercebiotech.com/biotech/novartis-asthma-drug-fails-phase-3-raising-doubts-
                                                     33 visited on August 30, 2020).
        about-gossamer-s-prospects (emphasis added) (last
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    1          95.    On November 12, 2019, Gossamer held an earnings call with analysts
    2
        to discuss its Third Quarter 2019 financial results. On this call, Defendant Gujrathi
    3

    4   again reiterated that the GB001 LEDA “study is on track to trigger an interim

    5   analysis in the first half of 2020, once approximately 2/3 of the patients have
    6
        completed the trial. In the second half of 2020, we expect to read out full top line
    7

    8   Phase IIb result [sic] for this 400-patient trial.”

    9          96.    In addition, Defendant Gujrathi discussed that at the American
   10
        College of Allergy, Asthma, Immunology Annual Scientific Meeting in Houston,
   11

   12   TX, Gossamer “presented 2 posters related to asthma and GB001. The first

   13   contained detailed results from the previously discussed proof-of-concept Phase II
   14
        study run by our partner, Teijin Pharma, in a 158 mild-to-moderate Japanese
   15

   16   asthmatics. The study met its primary endpoint of change in morning peak
   17   expiratory flow from baseline versus placebo. Additionally, in the poster, we
   18
        showed that treatment with 20 milligrams of GB001 led to a 71% reduction in the
   19

   20   risk of asthma worsening in the overall population, and an 84% reduction in the
   21   elevated eosinophilic population. These data reinforce our belief that baseline
   22
        blood eosinophils are a potential useful marker for response to GB001.”
   23

   24          97.    On this same call, an analyst from Joh. Berenberg, Gossler & Co. KG
   25   asked “[f]irst, on GB001. Just a follow-up on the LEDA program. Can you tell us
   26
        what data should we expect to be released at the interim analysis?” Defendant
   27

   28   Gujrathi responded:
                                                    34
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    1         So at the time of the interim analysis, that’s again, with about 2/3 of
    2
              patients have reached 24 weeks and with the primary endpoint. We
              will be looking at the primary endpoint, which is a composite. We’ll
    3         be looking at the 5 subcomponents of the composite to ensure
    4         consistency and what we’re really looking -- be looking at the rate of
              worsened events. And so that’s really the key endpoint that we'll be
    5         looking for at the study. We’ll also look, of course, at lung function,
    6         and we’ll be looking at safety and tolerability as well. Just to be clear,
              we will not be releasing any of this data since this will be an ongoing
    7         study, but we will be indicating whether we think the data’s in
    8         support of moving forward into Phase III, planning and initiation
              purposes. And so that’s what the level of disclosure we'll be
    9         providing. But really what we’ll be looking for is very robust data on
   10         the composite endpoint, consistency across all the subcomponents of
              the composite and, of course, consistency with the secondary
   11         endpoint.
   12
              (Emphasis added).
   13

   14         98.   The same analyst then asked: “A follow-up question on Novartis at

   15   the Phase III program. So based on your discussions with the FDA and the 0 trial
   16
        failure. Do you think that the FDA would require you to run a similar Phase III
   17

   18   trial in moderate asthma patient population with the lung function endpoint? Or is
   19   it possible that the study could be avoided in your pivotal program?” Defendant
   20
        Gujrathi responded:
   21

   22         We have had conversations with the FDA, where they were very
              interested in characterizing the efficacy in a broader population
   23         beyond moderate-to-severe eosinophilic asthma patients. We
   24         definitely wanted to have that as our patient population for the Phase
              IIb LEDA study because we think that’s where the highest scientific
   25         rationale lies in terms of the underlying biology for those patients, and
   26         the potential therapeutic effects for DP2 antagonism as well as any
              TH2-related mechanism. But we do know that they are interested in
   27         that characterization.
   28
                                                 35
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    1         And Novartis has done quite a bit now to generate data in the
    2
              moderate asthmatics in the mild-to-moderate setting as well as
              looking at to all-comers in the LUSTER trial. So our plan is to
    3         continue to have regulatory dialogue, and to talk about that plan.
    4         We’re ready to see what the data from, again, our own LEDA study.
              Of course, we will look at the LUSTER-1 and 2, our data sets when
    5         they become available and take all that back to the regulatory
    6         authorities to discuss and finalize our Phase III plan.

    7         I will say that we’re seeing clear benefits in the mild-to-severe
    8         eosinophilic asthma setting, really not a lot of benefit in those other
              patient populations. We will try to streamline our Phase III program.
    9         We think that’s the right thing to do for patients. And we also think
   10         that’s the best use of the adopting revenue sources as well. So those
              will be some of our intention.
   11

   12         99.    On December 16, 2019, Novartis announced that it was terminating

   13   the development of its DP2 antagonist fevipiprant for asthma after it failed another
   14
        pair of Phase 3 clinical trials. Analysts noted that, “[f]or Gossamer, detailed data
   15

   16   from fevipiprant would likely weight heavily on GB001, its lead drug in the same
   17   class.”7
   18
              100. Another analyst commented that “Gossamer had pulled off a highly
   19

   20   successful $276m Nasdaq flotation in February, and one reason investors stuck
   21   with the company in October is that it itself had indicated that the Zeal trials [by
   22
        Novartis, who announced their failure in October 2019] would likely fail. Today
   23

   24

   25

   26

   27
        7
   28    https://www.biopharmadive.com/news/novartis-fevipiprant-discontinue-asthma-
                                                      36
        gossamer/569149/ (last visited on August 30, 2020).
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    1   that credibility suffered a major sentiment knock-back, and Gossamer bulls and
    2
        other DP2 inhibitor developers alike would do well to take note.” 8
    3

    4          101. On this news, Gossamer’s stock price plummeted by over 37% in one

    5   day, from a December 13, 2019 close of $25.37 to a December 16, 2019 close of
    6
        $15.96 per share. 9
    7

    8          102. As a result of Defendants’ wrongful acts and omissions, and the

    9   precipitous decline in the market value of Gossamer’s securities, Lead Plaintiff and
   10
        other members of the Class have suffered significant losses and damages.
   11

   12          103. Shares of Gossamer common stock were sold at $16.00 per share in

   13   the IPO.
   14
               104. The facts regarding the IPO materials began to emerge after the IPO,
   15

   16   as detailed herein. On April 3, 2020, the date the initial complaint in this action
   17   was filed (ECF No. 1), Gossamer’s stock price closed at just $10.19 per share,
   18
        down from a class period high of $27.15 per share.
   19

   20                       POST-CLASS PERIOD DEVELOPMENTS
   21          105. On March 24, 2020, Gossamer filed 2019 Annual Report on Form 10-
   22
        K (the “2019 10-K”) with the SEC.
   23

   24          106. In its 2019 10-K, Gossamer acknowledged that:
   25          The results from preclinical studies or clinical trials of a product
   26          candidate or a competitor’s product candidate in the same class may
   27   8
          https://www.evaluate.com/vantage/articles/news/trial-results/other-shoe-drops-gossamers-
   28   gb001 (last visited on August 30, 2020).
        9                                               37 over December 14-15, 2019.
          This reflects one trading day, as the weekend fell
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    1         not predict the results of later clinical trials of our product candidates,
    2
              and interim results of a clinical trial are not necessarily indicative of
              final results. Product candidates in later stages of clinical trials may
    3         fail to show the desired safety and efficacy characteristics despite
    4         having progressed through preclinical studies and initial clinical trials.
              In particular, while two Phase 2 clinical trials of GB001 had been
    5         conducted prior to our acquisition of GB001, we do not know how
    6         GB001 will perform in future clinical trials, including as a result of
              any differences from targeting a population of more severe asthma
    7         subjects with elevated eosinophil counts, as well as other differences
    8         in our planned trial design. Further, GB001 did not meet its primary
              efficacy endpoint of improvement in FEV1 over 10 weeks in the first
    9         Phase 2 clinical trial conducted by Pulmagen Therapeutics (Asthma)
   10         Limited, or Pulmagen, and the second Phase 2 clinical trial conducted
              by Pulmagen and its partner, Teijin, was limited to only Japanese
   11         patients. While we have designed our ongoing Phase 2b trial in a
   12         manner intended to address what we believe to be the shortcomings of
              the first Pulmagen Phase 2 clinical trial, we cannot be certain that
   13         such failure was not due to GB001 itself or that the results of our
   14         ongoing Phase 2b trial will otherwise be successful in a broader
              patient population. In addition, in October 2019, Novartis announced
   15         that its oral DP2 antagonist, fevipiprant, failed to improve lung
   16         function in a pair of Phase 3 clinical trials of patients with moderate
              asthma, and in December 2019, Novartis announced that the pooled
   17         analysis from a pair of pivotal Phase 3 clinical trials of patients with
   18         moderate-to-severe asthma did not meet the clinically relevant
              threshold for reduction in rate of moderate-to-severe exacerbation and
   19         that the results did not support further development of fevipiprant in
   20         asthma. It is not uncommon to observe results in clinical trials that are
              unexpected based on preclinical studies and early clinical trials, and
   21         many product candidates fail in clinical trials despite very promising
   22         early results.
   23         107. After the markets closed on May 12, 2020, Gossamer issued a press
   24
        release accompanying its First Quarter 2020 financial results. In this release,
   25

   26   Gossamer announced that, contrary to its prior assertions, it was not going to
   27   immediately launch the Phase 3 study for GB001. In addition, Gossamer did not
   28
        share any specifics of its interim analysis38of the Phase 2b study of GB001:
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    1         [R]ecently completed a pre-specified interim analysis of LEDA, its
    2
              Phase 2b clinical study of GB001 in moderate-to-severe eosinophilic
              asthma. The interim analysis was based on approximately the first two
    3         thirds (~320) of patients who either completed or withdrew from the
    4         study. The Independent Data Monitoring Committee (IDMC)
              reviewed results from the interim analysis and recommended
    5         continuation of the study to its completion without modification.
    6         Based on the results of the interim analysis and the IDMC
              recommendation, Gossamer has commenced initial Phase 3 planning
    7         and supportive activities in anticipation of the completion of the study
    8         and final analysis of the study data. The final decision to proceed to
              Phase 3 will be made based on the totality of the final data from the
    9         LEDA study, as well as discussions with global regulatory authorities.
   10         Topline results from LEDA continue to be expected in the second half
              of 2020.
   11

   12                                    INSIDER SALES

   13         108. On August 28, 2019, Gossamer’s Chief Scientific Officer, Luisa
   14
        Salter-Cid, sold 50,000 shares at the artificially-inflated price of $19.88 per share,
   15

   16   for total proceeds of just under $1 million.
   17         109. Then between September 5 and September 20, 2019, Omega Fund V,
   18
        L.P., sold 400,000 shares at artificially-inflated prices ranging from between
   19

   20   $21.22 and $21.96, as set forth in the following chart:
   21

   22

   23

   24

   25

   26

   27

   28
                                                  39
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    1          Date              Number of           Price Per Share     Total Proceeds
    2
                                 Shares Sold
    3

    4   September 5, 2019     21,404              $21.56                $461,537

    5   September 10, 2019    112,776             $21.22                $2,393,494
    6
        September 16, 2019    82,213              $21.75                $1,787,758
    7

    8   September 20, 2019    183,607             $21.96                $4,032,560
    9
        TOTAL                 400,000             N/A                   $8,675,349
   10

   11

   12         110. Importantly, the shares traded by Omega Fund V, L.P. “may be
   13
        deemed to be beneficially owned by each of Omega Fund V GP, L.P. . . . as the
   14
        general partner of Omega V and Omega Fund V GP Manager, Ltd. . . . as the
   15

   16   general partner of Omega V GP. [Defendant] Otello Stampacchia, Richard Lim,
   17
        Anne-Mari Paster and Claudio Nessi . . . are all the shareholders and directors of
   18
        Omega V GP Manager and have shared voting and investment power over the
   19

   20   shares held by Omega V.”
   21
              111. In other words, Defendant Stampacchia, having invested in Gossamer
   22
        and having assumed a directorship on the Board in the lead up to the IPO, was
   23

   24   cashing out a substantial portion of Omega Fund’s shares immediately after the
   25
        lock-up expired on the IPO, and before any negative news hit.
   26

   27
              112. Defendant Stampacchia resigned from Gossamer’s Board of Directors

   28   on September 12, 2019, in the midst of Omega Fund V’s massive selling spree.
                                                40
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    1                           CLASS ACTION ALLEGATIONS
    2
              113. Lead Plaintiff brings this action as a class action pursuant to Rule 23
    3
        of the Federal Rules of Civil Procedure on behalf of a class of all persons and
    4

    5   entities who purchased or otherwise acquired Gossamer common stock between
    6
        February 8, 2019 and December 13, 2019, inclusive, and/or who acquired
    7
        Gossamer shares pursuant or traceable to Gossamer’s Registration Statement and
    8

    9   Prospectus in connection with its IPO, seeking to recover damages caused by
   10
        Defendants’ violations of the federal securities laws and to pursue remedies under
   11
        §§ 11 and 15 of the Securities Act and under §§ 10(b) and 20(a) of the Exchange
   12

   13   Act and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5.
   14
        Excluded from the Class are Defendants, directors and officers of the Company, as
   15
        well as their families and affiliates.
   16

   17         114. This action is properly maintainable as a class action.
   18
              115. The members of the Class are so numerous that joinder of all
   19
        members is impracticable. The disposition of their claims in a class action will
   20

   21   provide substantial benefits to the parties and the Court.
   22
              116. There is a well-defined community of interest in the questions of law
   23

   24
        and fact involved in this case. Questions of law and fact common to the members

   25   of the Class which predominate over questions which may affect individual Class
   26
        members include:
   27

   28
                                                  41
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    1            a. Whether the Securities Act and/or the Exchange Act were violated by
    2
                     Defendants;
    3

    4            b. Whether Defendants omitted and/or misrepresented material facts;

    5            c. Whether the IPO materials contained untrue statements of material
    6
                     fact;
    7

    8            d. Whether the Individual Defendants signed the Registration Statement;

    9            e. Whether the Underwriter Defendants acted as underwriters;
   10
                 f. Whether Defendants’ statements omitted material facts necessary in
   11

   12                order to make the statements made, in light of the circumstances under

   13                which they were made, not misleading;
   14
                 g. Whether Defendants knew or recklessly disregarded that their
   15

   16                statements were false and misleading;
   17            h. Whether the price of the Company’s stock was artificially inflated;
   18
                     and
   19

   20            i. The extent of damage sustained by Class members and the appropriate
   21                measure of damages.
   22
              117. Lead Plaintiff’s claims are typical of those of the Class because Lead
   23

   24   Plaintiff and the Class sustained damages from Defendants’ wrongful conduct
   25   alleged herein.
   26

   27

   28
                                                42
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    1         118. Lead Plaintiff will adequately protect the interests of the Class and
    2
        have retained counsel who are experienced in class action securities litigation.
    3

    4   Lead Plaintiff has no interests that conflict with those of the Class.

    5         119. The prosecution of separate actions by individual members of the
    6
        Class would create a risk of inconsistent or varying adjudications with respect to
    7

    8   individual members of the Class, which would establish incompatible standards of

    9   conduct for Defendants; or adjudications with respect to individual members of the
   10
        Class would, as a practical matter, be dispositive of the interest of other members
   11

   12   or substantially impair or impede their ability to protect their interests.

   13         120. There will be no difficulty in the management of this litigation.
   14
              121. A class action is superior to other available methods for the fair and
   15

   16   efficient adjudication of this controversy.
   17         122. Defendants have acted on grounds generally applicable to the Class
   18
        with respect to the matters complained of herein, thereby making appropriate the
   19

   20   relief sought herein with respect to the Class as a whole.
   21                               FRAUD ON THE MARKET
   22
              123. Lead Plaintiff will rely upon the presumption of reliance established
   23

   24
        by the fraud-on- the-market doctrine that, among other things:

   25             a. Defendants made public misrepresentations or failed to disclose
   26
                     material facts during the Class Period;
   27

   28
                  b. The omissions and misrepresentations were material;
                                                   43
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    1            c. The Company’s common stock traded in efficient markets;
    2
                 d. The misrepresentations alleged herein would tend to induce a
    3

    4               reasonable investor to misjudge the value of the Company’s common

    5               stock; and
    6
                 e. Lead Plaintiff and other members of the class purchased the common
    7

    8               stock between the time Defendants misrepresented or failed to

    9               disclose material facts.
   10
              124. At all relevant times, the markets for the Company’s stock were
   11

   12   efficient for the following reasons, among others: (i) the Company filed periodic

   13   public reports with the SEC; and (ii) the Company regularly communicated with
   14
        public investors via established market communication mechanisms, including
   15

   16   through regular disseminations of press releases on the major news wire services
   17   and through other wide-ranging public disclosures such as communications with
   18
        the financial press, securities analysts, and other similar reporting services. Lead
   19

   20   Plaintiff and the Class relied on the price of the Company’s common stock, which
   21   reflected all information in the market, including the misstatements by Defendants.
   22
              125. Only the Exchange Act claims asserted herein sound in fraud. The
   23

   24   Securities Act claims asserted herein are purely strict liability and negligence
   25   claims and do not sound in fraud.
   26

   27

   28
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    1                                 NO SAFE HARBOR
    2
              126. The statutory safe harbor provided for forward-looking statements
    3
        under certain conditions does not apply to any of the allegedly false statements
    4

    5   pleaded in this Complaint. The specific statements pleaded herein were not
    6
        identified as forward-looking statements when made.
    7
              127. To the extent there were any forward-looking statements, there were
    8

    9   no meaningful cautionary statements identifying important factors that could cause
   10
        actual results to differ materially from those in the purportedly forward-looking
   11
        statements.
   12

   13                             SCIENTER ALLEGATIONS
   14
              128. As alleged herein, Defendants acted with scienter since Defendants
   15
        knew that the public documents and statements issued or disseminated in the name
   16

   17   of the Company were materially false and/or misleading; knew that such
   18
        statements or documents would be issued or disseminated to the investing public;
   19
        and knowingly and substantially participated or acquiesced in the issuance or
   20

   21   dissemination of such statements or documents as primary violations of the federal
   22
        securities laws. As set forth elsewhere herein in detail, the Individual Defendants,
   23

   24
        by virtue of their receipt of information reflecting the true facts regarding

   25   Gossamer, their control over, and/or receipt and/or modification of Gossamer’s
   26
        allegedly materially misleading misstatements and/or their associations with the
   27

   28
                                                45
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    1   Company which made them privy to confidential proprietary information
    2
        concerning Gossamer, participated in the fraudulent scheme alleged herein.
    3

    4         129. Again, only the Exchange Act claims asserted herein sound in fraud.

    5   The Securities Act claims asserted herein are purely strict liability and negligence
    6
        claims and do not sound in fraud.
    7

    8                                   LOSS CAUSATION

    9         130. On December 16, 2019, Novartis announced that it was terminating
   10
        the development of its DP2 antagonist fevipiprant for asthma after it failed another
   11
        pair of Phase 3 clinical trials. On this news, Gossamer common stock plummeted
   12

   13   from a December 13, 2019 closing price of $25.37 per share to $15.96 per share, a
   14
        one day drop of $9.41 or over 37%.
   15
                                      CAUSES OF ACTION
   16

   17                                     COUNT ONE
            Violations of § 10(b) of the Exchange Act and Rule 10b-5 Promulgated
   18
                                           Thereunder
   19                Against Gossamer and the Management Defendants
   20
              131. Lead Plaintiff repeats and re-alleges each and every allegation
   21
        contained above as if fully set forth herein.
   22

   23         132. During the Class Period, Defendants disseminated or approved the
   24
        false statements specified above, which they knew or deliberately disregarded were
   25

   26
        misleading in that they contained misrepresentations and failed to disclose the

   27   material facts necessary to make the statements made, in light of the circumstances
   28
        under which they were made, not misleading.
                                              46
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    1         133. Defendants violated § 10(b) of the Exchange Act and Rule 10b-5 in
    2
        that they: (i) employed devices, schemes, and artifices to defraud; (ii) made untrue
    3

    4   statements of material fact and/or omitted to state material facts necessary to make

    5   the statements not misleading; and (iii) engaged in acts, practices, and a course of
    6
        business which operated as a fraud and deceit upon those who purchased or
    7

    8   otherwise acquired the Company’s securities during the class period.

    9         134. Lead Plaintiff and the Class have suffered damages in that, in reliance
   10
        on the integrity of the market, they paid artificially inflated prices for the
   11

   12   Company’s common stock. Lead Plaintiff and the Class would not have purchased

   13   the Company’s common stock at the price paid, or at all, if they had been aware
   14
        that the market prices had been artificially and falsely inflated by Defendants’
   15

   16   misleading statements.
   17                                     COUNT TWO
   18                       Violations of § 20(a) of the Exchange Act
                             (Against the Management Defendants)
   19
              135. Lead Plaintiff repeats and re-alleges each and every allegation
   20

   21   contained above as if fully set forth herein.
   22
              136. The Management Defendants acted as controlling persons of the
   23

   24
        Company within the meaning of § 20(a) of the Exchange Act as alleged herein. By

   25   virtue of their high-level positions at the Company, the Management Defendants
   26
        had the power and authority to cause or prevent the Company from engaging in the
   27

   28
        wrongful conduct complained of herein. The Management Defendants were
                                                  47
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    1   provided with or had unlimited access to the documents described above which
    2
        contained statements alleged by Lead Plaintiff to be false or misleading both prior
    3

    4   to and immediately after their publication, and had the ability to prevent the

    5   issuance of those materials or to cause them to be corrected so as not to be
    6
        misleading.
    7

    8                                   COUNT THREE
                              Violations of § 11 of the Securities Act
    9                                (Against All Defendants)
   10
              137. Lead Plaintiff repeats and re-alleges each and every allegation
   11
        contained above as if fully set forth herein.
   12

   13         138. This Count does not sound in fraud. All of the preceding allegations
   14
        of fraud or fraudulent conduct and/or motive are specifically excluded from this
   15
        Count. Lead Plaintiff does not allege that any of the Defendants, other than
   16

   17   Gossamer and the Management Defendants, had scienter or fraudulent intent with
   18
        respect to this Court, insofar as scienter or fraudulent intent are not elements of a §
   19
        11 claim.
   20

   21         139. The Registration Statement for the IPO was inaccurate and
   22
        misleading, contained untrue statements of material facts, omitted to state other
   23

   24
        facts necessary to make the statements not misleading, and omitted to state

   25   material facts required to be stated therein.
   26

   27

   28
                                                  48
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    1         140. Gossamer is the registrant for the IPO. The other Defendants named
    2
        herein were responsible for the contents and dissemination of the Registration
    3

    4   Statement.

    5         141. As the issuer of the shares, Gossamer is strictly liable to Lead Plaintiff
    6
        and the Class for any misstatements or omissions in the Registration Statement.
    7

    8         142. None of the Defendants named herein made a reasonable investigation

    9   or possessed reasonable grounds for the belief that the statements contained in the
   10
        Registration Statement were true, and/or without omissions of any material facts,
   11

   12   were not misleading.

   13         143. By reason of the conduct alleged herein, each Defendant violated,
   14
        and/or controlled a person who violated, § 11 of the Securities Act.
   15

   16         144. Lead Plaintiff acquired Gossamer shares pursuant and/or traceable to
   17   the Registration Statement for the IPO.
   18
              145. Lead Plaintiff and the Class have sustained damages. The value of
   19

   20   Gossamer stock has declined substantially subsequent to and due to Defendants’
   21   violations.
   22
              146. At the time of his purchase of Gossamer shares, Lead Plaintiff and the
   23

   24   other members of the Class were without knowledge of the facts concerning the
   25   wrongful conduct alleged herein and could not have reasonably discovered those
   26
        facts prior to within one year of bringing this lawsuit. Moreover, fewer than three
   27

   28
                                                  49
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    1   years elapsed between the time that the securities upon which this Count Three is
    2
        brought were offered to the public and the time Lead Plaintiff filed this Complaint.
    3

    4                                  COUNT FOUR
                            Violations of § 15 of the Securities Act
    5            (Against All Defendants Except the Underwriter Defendants)
    6
              147. Lead Plaintiff repeats and re-alleges each and every allegation
    7
        contained above as if fully set forth herein.
    8

    9         148. This Count is brought pursuant to § 15 of the Securities Act against
   10
        Gossamer, Gujrathi, Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá, and
   11
        Stampacchia.
   12

   13         149. This Count does not sound in fraud. All of the preceding allegations
   14
        of fraud or fraudulent conduct and/or motive are specifically excluded from this
   15
        Count. Lead Plaintiff does not allege that any of the Defendants, other than
   16

   17   Gossamer and the Management Defendants, had scienter or fraudulent intent with
   18
        respect to this Court, insofar as scienter or fraudulent intent are not elements of a §
   19
        15 claim.
   20

   21         150. Gujrathi, Giraudo, Hasnain, Bilenker, Burow, Cox, Daniel, Galá, and
   22
        Stampacchia each were control persons of Gossamer by virtue of their positions as
   23

   24
        director and/or senior officer of Gossamer. These Defendants each had a series of

   25   direct and/or indirect business and/or personal relationships with other directors
   26
        and/or officers and/or major shareholders of Gossamer. Gossamer controlled these
   27

   28
        Defendants.
                                                  50
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    1         151. Defendants each were culpable participants in the violations of § 11 of
    2
        the Securities Act alleged in Count Three above, based on their having signed
    3

    4   and/or authorized the signing of the Registration Statement and having otherwise

    5   participated in the process that allowed the IPO to be successfully completed.
    6
                                    PRAYER FOR RELIEF
    7
              WHEREFORE, Lead Plaintiff prays for relief and judgment as follows:
    8

    9            a) ordering that this action is a proper class action pursuant to Rule 23(a)
   10
                    and 23(b)(3) of the Federal Rules of Civil Procedure on behalf of the
   11
                    Class as defined herein, and a certification of Lead Plaintiff as class
   12

   13               representative pursuant to Rule 23 of the Federal Rules of Civil
   14
                    Procedure and appointment of Lead Plaintiff’s counsel as Lead
   15
                    Counsel;
   16

   17            b) awarding compensatory and punitive damages in favor of Lead
   18
                    Plaintiff and the other class members against all Defendants, jointly
   19
                    and severally, for all damages sustained as a result of Defendants’
   20

   21               wrongdoing, in an amount to be proven at trial, including pre-
   22
                    judgment and post- judgment interest thereon.
   23

   24
                 c) awarding Lead Plaintiff and other members of the Class their costs

   25               and expenses in this litigation, including reasonable attorneys’ fees
   26
                    and experts’ fees and other costs and disbursements; and
   27

   28
                                                 51
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    1              d) awarding Lead Plaintiff and the other Class members such other relief
    2
                      as this Court may deem just and proper.
    3

    4                             DEMAND FOR JURY TRIAL

    5          Lead Plaintiff hereby demands a trial by jury in this action of all issues so
    6
        triable.
    7

    8
        Dated: August 31, 2020                    Respectfully submitted,
    9
                                                   By: /s/ Jacob A. Walker
   10
                                                   Jacob A. Walker (CA Bar No. 271217)
   11                                              Jeffrey C. Block (admitted pro hac vice)
                                                   Stephen J. Teti (admitted pro hac vice)
   12
                                                   BLOCK & LEVITON LLP
   13                                              260 Franklin St., Suite 1860
                                                   Boston, MA 02110
   14
                                                   Tel.: (617) 398-5600
   15                                              Fax: (617) 507-6020
                                                   jake@blockleviton.com
   16
                                                   jeff@blockleviton.com
   17                                              steti@blockleviton.com
   18
                                                   Whitney E. Street (CA Bar No. 223870)
   19                                              BLOCK & LEVITON LLP
                                                   100 Pine St., Suite 1250
   20
                                                   San Francisco, CA 94111
   21                                              Tel.: (415) 968-1852
                                                   Fax: (617) 507-6020
   22
                                                   whitney@blockleviton.com
   23

   24
                                                  Counsel for Lead Plaintiff and the
                                                  Proposed Class
   25

   26

   27

   28
                                                  52
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